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3    Telephone: (916) 443-0217

4    Attorney for Defendant
     Jose Acevedo
5

6                         UNITED STATES DISTRICT COURT
7                        EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA         )      No. Cr.S-06-199 EJG
9                                     )
                    Plaintiff         )      STIPULATTION AND ORDER
10                                    )      CONTINUING SENTENCING
               v.                     )
                                      )      Date:     July 27, 2007
11   JOSE ACEVEDO                     )      Time:     9:00 AM
                                      )      Court:    EJG
12                  Defendant         )
                                      )
13

14
          IT IS HEREBY STIPULATED AND AGREED by the parties through
15
     their respective attorneys that the above referenced matter,
16
     calendared for Friday, June 29, 2007, for sentencing be
17
     rescheduled for July 27, 2007 at 9:00 AM for sentencing.
18
          This stipulation and agreement is entered into for the
19
     following reasons: Due to scheduling conflicts between probation
20
     and undersigned counsel, Mr. Acevedo was just recently
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22   interviewed and the PSR has not yet been completed. The date of

23   July 27th was selected because one of the co-defendants is

24   scheduled to be sentenced on that date.

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1         Assistant United States Attorney Richard Bender agrees with

2    the above request.
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5
          IT IS SO STIPULATED
6

7

8         Dated: June 27, 2007               /S/ MICHAEL B. BIGELOW
                                             Michael B. Bigelow
9                                            Attorney for Defendant

10

11

12        Dated: June 27, 2007               /S/RICHARD BENDER
                                             Richard Bender, AUSA
13

14
     IT IS SO ORDERED
15

16   June 27, 2007

17                                    /s/ Edward J. Garcia
                                      Hon. Edward J. Garcia
18                                    United States District Court Judge

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